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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

    CHARLOTTE BRENT-BELL,               )
                                        )                    Case No. 17 C 1099
                Plaintiff,              )
                                        )                    Hon. Joan B. Gottschall,
                v.                      )                    District Judge
                                        )
    The CITY OF CHICAGO, Chicago Police )                    Hon. Jeffrey T. Gilbert,
    Officers JOSEPH STRUCK, PAMELA      )                    Magistrate Judge
    CHILDS LAUGHLIN, SHERRY KOTLARZ, )
    JOSEPH LOPEZ, CYNTHIA R. NICHOLS,   )
    SGT. LOUIS D. BOONE, III, AUDIE     )
    MANAOIS, and UNIDENTIFIED CHICAGO )
    POLICE OFFICERS,                    )
                                        )                    JURY TRIAL DEMANDED
                Defendants.             )


                              THIRD AMENDED COMPLAINT

        NOW COMES Plaintiff, CHARLOTTE BRENT-BELL, by and through her attorneys

LOEVY & LOEVY, and complaining of Defendants CITY OF CHICAGO, Chicago police

officers JOSEPH STRUCK, PAMELA CHILDS LAUGHLIN, SHERRY KOTLARZ, JOSEPH

LOPEZ, CYNTHIA R. NICHOLS, SGT. LOUIS D. BOONE, III, AUDIE MANAOIS and

UNIDENTIFIED CHICAGO POLICE OFFICERS, states as follows:

                                       INTRODUCTION

        1.     On or about August 15, 2016, Defendants removed Plaintiff Charlotte Brent-Bell,

a 68-year-old retiree, from her home on the south side of Chicago for no reason at all. The

Defendants unlawfully arrested her, searched her, detained her at the police station, and

interrogated her.

        2.     At no time did Defendants have any reason to suspect Mrs. Brent-Bell of any

crime. Indeed, Defendants all told Mrs. Brent-Bell that she was not suspected of any crime.


                                                  
 
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        3.      During the time that Mrs. Brent-Bell was at the police station, the Defendants

knew she was in need of medication. They knew this because Mrs. Brent-Bell told them

repeatedly. Nonetheless, Defendants denied Mrs. Brent-Bell timely access to her medication.

        4.      As a result of Defendants’ unlawful behavior and after hours of interrogation by

Defendants, Mrs. Brent-Bell suffered a heart attack while in the custody of the Chicago Police

Department. She had to be rushed to the hospital. Her health problems continue to this day.

        5.      The violation of Mrs. Brent-Bell’s rights and her suffering was caused by the

Defendants’ illegal conduct and their brazen abuse of power. Mrs. Brent-Bell brings this suit to

hold Defendants accountable and to redress the harm that she has suffered and continues to

suffer to this day.

                                  JURISDICTION AND VENUE

        6.      This action is brought pursuant to 42 U.S.C. § 1983 and Illinois law to redress the

Defendants’ tortious conduct and their deprivation of Plaintiff’s rights secured by the U.S.

Constitution.

        7.      This Court has jurisdiction of the action pursuant to 28 U.S.C. §§ 1331 and 1367.

        8.      Venue is proper under 28 U.S.C. § 1391(b). Plaintiff resides in this judicial

district; all Defendants reside in this judicial district; and the events giving rise to Plaintiff’s

claims asserted herein all occurred within this judicial district.

                                               PARTIES

        9.      Plaintiff Charlotte Brent-Bell is a 68-year-old resident of Chicago, Illinois. At the

time of the events at issue, Mrs. Brent-Bell was detained at her home, in Chicago Police

Department vehicles, at the Chicago Police Department station at 5101 S. Wentworth Ave.,




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Chicago, Illinois, 60609, and at Mercy Hospital at 2525 S. Michigan Ave., Chicago, Illinois

60616.

         10.   Defendants Joseph Struck, Pamela Childs Laughlin, and Audie Manaois are past

or current Chicago Police detectives employed by the City of Chicago. Sherry Kotlarz, Joseph

Lopez, and Cynthia R. Nichols, are past or current Chicago Police officers employed by the City

of Chicago. Sgt. Louis D. Boone, III is a past or current Chicago Police sergeant employed by

the City of Chicago. At all times relevant to the events described in this Complaint, these

detectives were acting under color of law and within the scope of their employment with the

Chicago Police Department.

         11.   Defendants Unidentified Chicago Police Officers are unknown employees of the

City of Chicago and/or the Chicago Police Department who have not yet been identified by

Plaintiff. At all times relevant to the events described in this Complaint, these Unidentified

Police Officers were acting under color of law and within the scope of their employment with the

Chicago Police Department.

         12.   Defendant City of Chicago is an Illinois municipal corporation that is or was the

employer of Defendants Unidentified Chicago Police Officers. The City of Chicago is liable for

all torts committed by the Unidentified Chicago Police Detective and Unidentified Chicago

Police Officer Defendants while employed by the City of Chicago pursuant to the doctrine of

respondeat superior. Defendant City of Chicago is additionally responsible for the policies and

practices of the Chicago Police Department.

                                              FACTS

         13.   On or about August 15, 2016, Mrs. Brent-Bell and her husband, Layman Bell,

were in their home on the south side of Chicago.




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          14.   At or about 11:50 a.m., Defendants arrived at her door.

          15.   Hearing a forceful knock, Mr. Bell looked out of the window to see who was

there. After seeing Defendants, a plain-clothes police detective and a uniformed police officer,

Mr. Bell opened the door.

          16.   Upon answering the door, one of the officers asked to see Mrs. Brent-Bell. At the

time, Mrs. Brent-Bell was upstairs getting dressed, and the Defendants entered the Bells’ home.

          17.   Mr. Bell asked the officer and detective if they had a warrant, and they responded

that they did not need a warrant.

          18.   The Defendants told Mr. Bell to go get his wife, and if she did not hurry, they

would handcuff her and call a wagon.

          19.   When Mrs. Brent-Bell came downstairs, she asked Defendants what they needed

to see her about, and they refused to tell her anything.

          20.   Mrs. Brent-Bell refused to go with the Defendants and told Mr. Bell to call their

lawyer.

          21.   The Defendants instructed Mrs. Brent-Bell that she had to come to the police

station with them.

          22.   Defendants escorted Mrs. Brent-Bell to their police car and put her in the back

seat. Defendants told Mr. Bell that they were taking Mrs. Brent-Bell to the station at 51st Street.

          23.   On her way out to the police car, Mrs. Brent-Bell suffered an asthma attack and

had to use her inhaler.

          24.   After entering the police station at 51st street, Defendants took Mrs. Brent-Bell’s

purse and placed her in an interrogation room.




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       25.     Mrs. Brent-Bell’s cell phone and medications were inside her purse when the

Defendants confiscated it without her permission.

       26.     Defendants questioned Mrs. Brent-Bell at length.

       27.     Defendants searched Mrs. Brent-Bell’s cell phone without her permission.

       28.     After they had searched through Mrs. Brent-Bell’s cell phone, the Defendants

presented Mrs. Brent-Bell with a form for her to sign, which purportedly would have given them

permission to search her phone. Mrs. Brent-Bell refused to sign the form.

       29.     Defendant Officers interrogated Mrs. Brent-Bell for more than six hours.

       30.     During the Defendants’ interrogation, Mrs. Brent-Bell notified them repeatedly

that she needed her purse so that she could take her medications. Defendants delayed Mrs. Brent-

Bell’s access to her medications.

       31.     Mrs. Brent-Bell requested a lawyer numerous times while Defendants were

questioning her. Defendants never ceased their questioning in response to Mrs. Brent-Bell’s

requests for an attorney. Defendants never permitted Mrs. Brent-Bell to speak with an attorney.

       32.     Defendants never read Mrs. Brent-Bell her Miranda rights. At no point did Mrs.

Brent-Bell agree to speak with Defendants. On the contrary, she repeatedly invoked her right to

remain silent. Defendants disregarded Mrs. Brent-Bell’s invocation of her right to remain silent,

and they continued with their questioning.

       33.     During the interrogation, Defendants wrote out a statement for Mrs. Brent-Bell to

sign. Mrs. Brent-Bell refused to sign the statement.

       34.     Throughout the day, Mrs. Brent-Bell began to feel progressively more ill. She told

Defendants that she was feeling ill. Mrs. Brent-Bell experienced dizziness, nausea, chest pains,

and had become hot and sweaty.




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       35.     Mrs. Brent-Bell and her husband informed officers that she needed her medication

and medical care. Defendants refused to provide her with medication or medical care until hours

after she had requested it.

       36.     As a result of Defendants’ unlawful detention and interrogation, Mrs. Brent-Bell

blacked out and became unresponsive. She had suffered a heart attack.

       37.     Mrs. Brent-Bell was taken to Mercy Hospital in an ambulance. Defendants

followed the ambulance and remained stationed outside of her hospital room.

       38.     Mrs. Brent-Bell remained in Defendants’ custody. They continued to treat her as a

common criminal for absolutely no reason, even after she had suffered a heart attack.

       39.     Doctors provided emergency care to Mrs. Brent-Bell, and they thankfully saved

her life. Mrs. Brent-Bell had to undergo surgery, and she was hospitalized for four days.

       40.     Mrs. Brent-Bell was placed on bed rest for two weeks, and continues to undergo

physical therapy.

       41.     Following the surgery, Mrs. Brent-Bell was told not to drive and had to hire a

home nurse.

       42.     As a result of Defendants’ misconduct, Mrs. Brent-Bell continues to suffer from

nightmares, panic attacks, insomnia, anxiety, and physical pain and suffering.

       43.     Mrs. Brent-Bell was never charged with any crime.

       44.     Mrs. Brent-Bell was never suspected of any crime.

       45.     As described in more detail below, the Defendants’ actions and omissions were

undertaken pursuant to Defendant City of Chicago’s policies, practices, and customs, which were

the moving force behind the violations of Mrs. Brent Bell’s rights and the cause of her injuries.




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As a result of the City of Chicago’s policies, practices, and customs, Mrs. Brent-Bell suffered

and continues to suffer serious injury.

                                   COUNT I – 42 U.S.C. § 1983
                                  Unlawful Arrest and Detention

          46.   Each of the paragraphs of this Complaint is incorporated as if restated fully

herein.

          47.   In the manner described above, Defendants seized, falsely arrested, and

unlawfully detained Mrs. Brent-Bell without probable cause or any lawful justification, in

violation of the Fourth and Fourteenth Amendments to the U.S. Constitution.

          48.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with malice, willfulness, and reckless indifference to Mrs. Brent-Bell’s

constitutional rights.

          49.   As a result of Defendants’ misconduct, Mrs. Brent-Bell experienced and

continues to experience pain, suffering, emotional distress, and physical injury, including a heart

attack.

          50.   Mrs. Brent-Bell’s injuries described in this Count were caused by policies,

practices, and customs of the City of Chicago, as well as by the actions of policy-making

officials for the City of Chicago, as described in Count VI below, the paragraphs of which

Plaintiff incorporates as if restated fully herein.




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                                   COUNT II – 42 U.S.C. § 1983
                                       Unlawful Search

          51.   Each of the paragraphs of this Complaint is incorporated as if restated fully

herein.

          52.   In the manner described above, Defendants violated Mrs. Brent-Bell’s Fourth and

Fourteenth Amendment rights by conducting an illegal search of her cell phone without a

warrant and without probable cause or any lawful justification.

          53.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with malice, willfulness, and reckless indifference to Mrs. Brent-Bell’s

constitutional rights.

          54.   As a result of Defendants’ misconduct, Mrs. Brent-Bell experienced and

continues to experience pain, suffering, emotional distress, and physical injury, including a heart

attack.

          55.   Mrs. Brent-Bell’s injuries described in this Count were caused by policies,

practices, and customs of the City of Chicago, as well as by the actions of policy-making

officials for the City of Chicago, as described in Count VI below, the paragraphs of which

Plaintiff incorporates as if restated fully herein.

                                   COUNT III – 42 U.S.C § 1983
                                     Denial of Medical Care

          56.   Each of the paragraphs of this Complaint is incorporated as if restated fully

herein.

          57.   In the manner described above, Defendants had notice of Mrs. Brent-Bell’s

serious medical need, and yet they failed to provide her with necessary medical attention, in

violation of the Fourth, Eighth, and Fourteenth Amendments of the United States Constitution.




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          58.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with malice, willfulness, and reckless indifference to Mrs. Brent-Bell’s

constitutional rights.

          59.   Alternatively, Defendants were deliberately indifferent to Mrs. Brent-Bell’s

objectively serious medical need, and their acts were undertaken intentionally with malice,

willfulness, and deliberate indifference to the rights of others.

          60.   As a result of Defendants’ misconduct, Mrs. Brent-Bell experienced and

continues to experience pain, suffering, emotional distress, and physical injury, including a heart

attack.

          61.   Mrs. Brent-Bell’s injuries described in this Count were caused by policies,

practices, and customs of the City of Chicago, as well as by the actions of policy-making

officials for the City of Chicago, as described in Count VI below, the paragraphs of which

Plaintiff incorporates as if restated fully herein

                                COUNT IV – 42 U.S.C. § 1983
                         Conspiracy to Deprive of Constitutional Rights

          62.   Each of the paragraphs of this Complaint is incorporated as if restated fully

herein.

          63.   Defendant Officers, acting in concert with other co-conspirators, known and

unknown, reached an agreement among themselves to deprive Mrs. Brent-Bell of her

constitutional rights, all as described in the various paragraphs of this Complaint.

          64.   In so doing, these co-conspirators conspired to accomplish an unlawful purpose

by unlawful means.

          65.   In furtherance of their conspiracy, each or these co-conspirators committed overt

acts and were otherwise willful participants in joint activity.



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          66.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with malice, willfulness, and reckless indifference to Mrs. Brent-Bell’s

constitutional rights.

          67.   As a result of Defendants’ misconduct, Mrs. Brent-Bell experienced and

continues to experience pain, suffering, emotional distress, and physical injury, including a heart

attack.

          68.   Mrs. Brent-Bell’s injuries were caused by employees of the City of Chicago, who

acted pursuant to the policies and practices of the Chicago Police Department, as described

above.

                                  COUNT V – 42 U.S.C. § 1983
                                     Failure to Intervene

          69.   Each of the paragraphs of this Complaint is incorporated as if restated fully

herein.

          70.   During the constitutional violations described herein, one or more of the

Defendant Officers stood by without intervening to prevent the violation of Plaintiff’s

constitutional rights, even though they had the opportunity to do so.

          71.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with malice, willfulness, and reckless indifference to Mrs. Brent-Bell’s

constitutional rights.

          72.   As a result of Defendants’ misconduct described in this Count, Mrs. Brent-Bell

experienced and continues to experience pain, suffering, emotional distress, and physical injury,

including a heart attack.




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         73.   Mrs. Brent-Bell’s injuries were caused by employees of the City of Chicago, who

acted pursuant to the policies and practices of the Chicago Police Department, as described

above.

                                 COUNT VI – 42 U.S.C. § 1983
                          Policies and Practices of the City of Chicago

         74.   At all times relevant to the events described in this Complaint, and for a period of

time prior and subsequent thereto, the City of Chicago failed to promulgate proper or adequate

rules, regulations, policies, and procedures regarding: (a) the arrest, detention, and interrogation

of individuals, including witnesses, by the Chicago Police Department; (b) the search of

individuals and their property by the Chicago Police Department; and (c) the provision of

medication or medical care to individuals with serious medical conditions and/or in need of

medical assistance while in the custody of or detained by the Chicago Police Department.

         75.   In addition, the City of Chicago failed to promulgate proper and adequate rules,

regulations, policies, and procedures for the training and supervision of Chicago Police Officers,

with respect to: (a) the arrest, detention, and interrogation of individuals, including witnesses, by

the Chicago Police Department; (b) the search of individuals and their property by the Chicago

Police Department; and (c) the provision of medication or medical care to individuals with

serious medical conditions and/or in need of medical assistance while in the custody of or

detained by the Chicago Police Department.

         76.   These failures to promulgate proper or adequate rules, regulations, policies, and

procedures were committed by policymaking officials for the City of Chicago and the Chicago

Police Department.




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       77.     These failures to promulgate proper or adequate rules, regulations, policies, and

procedures caused routine violations of the constitutional rights of citizens of the City of

Chicago, including Mrs. Brent-Bell’s constitutional rights.

       78.     In addition, at all times relevant to the events described in this Complaint and for

a period of time prior thereto, the City of Chicago had notice of widespread practices and

customs of Chicago Police Officers under which: (a) individuals not reasonably suspected of any

criminal activity, such as Mrs. Brent-Bell, were routinely stopped, seized, arrested, detained,

questioned, and/or interrogated against their will; (b) individuals not reasonably suspected of any

criminal activity, such as Mrs. Brent-Bell, had their person or property routinely and unlawfully

searched; and (c) individuals with serious medical conditions and/or in need of medical

assistance did not receive reasonable, adequate, or timely medical care while in the custody of or

detained by the Chicago Police Department.

       79.     Specifically, Chicago Police Officers routinely stopped, seized, searched,

arrested, detained, questioned, and/or interrogated individuals who were not suspected of

criminal activity, against their will, by various means, including but not limited to one or more of

the following: (a) Chicago Police Officers entered their homes or places of business without a

warrant, probable cause, reasonable suspicion, or any other lawful purpose; (b) Chicago Police

Officers stopped, seized, arrested, and/or detained them without a warrant, probable cause,

reasonable suspicion, or any other lawful purpose; (c) Chicago Police Officers searched their

person or property without a warrant, probable cause, reasonable suspicion, or any other lawful

purpose; and (d) Chicago Police Officers questioned and/or interrogated them without a warrant,

probable cause, reasonable suspicion, or any other lawful purpose, and without proper protection

of their constitutional rights to remain silent or to have an attorney present.




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       80.     For example, in the 1980s, the Chicago Reporter found that tens of thousands of

citizens were arrested in Chicago neighborhoods in cases that almost never resulted in a

conviction because Chicago Police Officers would not show up in court to defend the arrest. The

American Civil Liberties Union challenged this pattern and practice of illegal arrests in the

lawsuit Michael Nelson v. City of Chicago, 83 C 1168 (N.D. Ill.).

       81.     In the 1990s, the pattern of illegal seizures continued with the City’s so-called

“gang loitering ordinance,” under which thousands of citizens were arrested and searched

without justification. The Supreme Court later declared the practice unconstitutional in City of

Chicago v. Morales, 527 U.S. 41 (1999).

       82.     The U.S. Department of Justice’s 2017 report, Investigation of the Chicago Police

Department, found that a special enforcement unit of Chicago Police officers routinely and

improperly stopped and searched black and Latino community members and seized their

property.

       83.     In the early 2000s, illegal searches and seizures by the Chicago Police

Department remained common. In 2003, the American Civil Liberties Union again filed suit, this

time on behalf of Olympic Gold medalist Shani Davis and others, alleging illegal searches and

seizures by Chicago Police officers. Davis v. City of Chicago, 219 F.R.D. 593 (N.D. Ill. 2004)

(No. 03 C 2094), 2003 WL 23800673.

       84.     Just before Mrs. Brent-Bell’s illegal arrest and interrogation, a study of arrests by

the American Civil Liberties Union found that there were a quarter million Fourth Amendment

seizures in Chicago during the summer of 2014 that did not result in charges. Chicago Police

officers conducted half of those seizures without sufficient justification. These seizures occurred

disproportionately in African-American communities, such as Mrs. Brent-Bell’s.




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        85.     In April 2016, the Chicago Police Accountability Task Force confirmed that

searches and seizures of African-Americans, like Mrs. Brent-Bell, occurred at much higher rates

than searches and seizures of the rest of the population.

        86.     The examples above demonstrate that the Chicago Police Department’s pattern

and practice of illegal seizures and searches of Chicago citizens, and particularly African-

American citizens, like Mrs. Brent-Bell, is longstanding and widespread.

        87.     Many of these illegal seizures have resulted in meritorious lawsuits. Between

2008 and 2016, for example, the City paid judgments and settlements in a minimum of 700 false

arrest cases, paying tens of millions of dollars to citizens whose constitutional rights had been

violated by Chicago Police officers.

        88.     On information and belief, in that time period, approximately 90% of arrests

conducted by Chicago Police officers took place without a warrant.

        89.     As explained in the Chicago Police Accountability Task Force’s recent report,

once arrested extremely few Chicagoans are allowed to consult with counsel while in police

custody. Instead, Chicago Police officers provide phone access to the outside world for the first

time only after interrogations are complete.

        90.     For example, in 2014, just three of every 1,000 arrestees in Chicago Police

Department custody were permitted to have contact with an attorney.

        91.     Between August 2004 and June 2015, approximately 7,000 people were detained

in the Homan Square facility and subjected to illegal interrogation.

        92.     Recent Chicago history is replete with examples of illegal interrogations that

resulted in the violation of the constitutional rights of citizens.




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       93.     In addition to the above well-documented widespread practices and customs,

Chicago Police officers routinely denied adequate medical care to individuals detained at

Chicago Police stations who had serious medical conditions and/or a need for medical assistance.

Among other things, Chicago Police officers denied medication or medical attention to

individuals in custody and failed or refused to respond to detained persons who requested

medication or medical attention.

       94.     During the time period relevant to this case, approximately 80% of individuals

who were detained at a Chicago Police station with a known medical need at the time of arrest

received no medical treatment or medication. This is the case even though approximately half of

detainees at Chicago Police stations were detained for 8-9 hours and ten percent of detainees

were detained longer than 20 hours.

       95.     Just before Mrs. Brent-Bell was detained and denied medical care in this case, a

federal jury found that the City of Chicago had a widespread practice of denying needed medical

attention and medication to detainees in Ortiz v. City of Chicago, No. 04 C 7423 (N.D. Ill.).

       96.     The violations of Mrs. Brent-Bell’s constitutional rights were also caused by the

City’s failure to adequately train, supervise, and discipline its officers. At all relevant times and

for a period of time prior thereto: (a) Chicago Police officers were permitted to stop, seize,

search, arrest, detain, question, and/or interrogate individuals without proper training; (b) they

did not receive proper training with respect to proper medical care for detained persons who

exhibit obvious signs of a serious medical condition or illness; (c) supervisors in the Chicago

Police Department with knowledge of what constituted permissible and impermissible stops,

seizures, searches, arrests, detentions, interrogations, medical care, and/or medical assistance did

not properly supervise or discipline Chicago Police Officers; and (d) employees of the Chicago




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Police Department formally and informally adhered to a “code of silence,” whereby Chicago

Police Officers and their supervisors agreed explicitly and implicitly not to report misconduct

committed by employees of the Chicago Police Department, creating an environment of

lawlessness, without discipline, where employees of the Chicago Police Department engaged in

misconduct without fear of reprisal.

        97.     The above persistent and widespread practices and customs are themselves

evidence of the City’s failure to train, supervise, and discipline Chicago Police officers.

        98.     In addition, in March 2015, the American Civil Liberties Union found that

Chicago Police officers were hardly ever trained to conduct seizures after their initial training at

the police academy. The American Civil Liberties Union also found that there was no evidence

that Chicago Police seizures were being supervised by responsible Chicago Police supervisors.

        99.     The U.S. Department of Justice’s recent report likewise found that there were

“engrained deficiencies in the systems CPD uses to provide officers with supervision and

training.” In particular, on the subject of training, the DOJ concluded that the “CPD’s inattention

to training needs, including a longstanding failure to invest in the resources, facilities, staffing,

and planning required to train a department of approximately 12,000 members, leaves officers

underprepared to police effectively and lawfully. Officer errors and misconceptions that result

from lack of training are not corrected in the field, because CPD has neither structured

supervision in a way that will adequately support officers, nor invested in programs and systems

that will detect when officers are in need of help or exhibiting behavior that must be corrected.

Officers’ ability to stay safe, protect public safety, and police within constitutional standards

suffers as a result.”




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       100.    On the subject of supervision, the DOJ concluded among other things that

“[i]nstead of encouraging the chain of command to instill proper policing tactics and respect for

constitutional policing in CPD officers, CPD provides little incentive, or even opportunity, for

supervisors to meaningfully guide and direct CPD officers. CPD provides even less incentive for

supervisors to hold officers accountable when they deviate from CPD policy and the law. The

City has long known that CPD’s direct supervision of officers is inadequate, including through

the fact that multiple reports in the last two decades have highlighted deficiencies in CPD’s

supervisory practices. Yet, City and CPD leadership have not made the necessary reforms to

CPD’s supervision structure and processes, and community and officer safety suffer as a result.”

       101.    The failure of police supervision and discipline in the City of Chicago during the

relevant time period is a fact admitted by City policymakers and Chicago Police officers.

       102.    The Mayor of the City of Chicago has acknowledged that a “code of silence”

exists within the Chicago Police Department.

       103.    In December 2016, the President of the police officers’ union in Chicago admitted

that there is a “code of silence” in the Chicago Police Department.

       104.    In 2017, the U.S. Department of Justice found that current officers of the CPD

and former high-level officials of the CPD acknowledged a “code of silence.”

       105.    In the case of Klipfel v. Bentsen, No. 94 C 6415 (N.D. Ill.), a federal jury found

that as of 1994 the Chicago Police maintained a code of silence that facilitated police

misconduct.

       106.    In Obrycka v. City of Chicago, No. 07 C 2372 (N.D. Ill.), a different federal jury

found that, as of February 2007, “the City had a widespread custom and/or practice of failing to

investigate and/or discipline its officers and/or code of silence.”




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         107.   The same code of silence and ineffective system of police oversight were in place

when Mrs. Brent-Bell’s constitutional rights were violated in August 2016.

         108.   Compounding the problem, as the U.S. Department of Justice has found,

“Chicago seldom holds officers accountable for misconduct.”

         109.   Between 2004 and 2016, the City paid more than $500 million to settle or pay

judgements in police misconduct cases, without even conducting disciplinary investigations in

more than half of the cases, and while recommending discipline in fewer than 4% of those cases.

         110.   The U.S. Department of Justice “confirmed that CPD’s accountability systems are

broadly ineffective at deterring or detecting misconduct, and at holding officers accountable

when they violate the law or CPD policy.” In particular, the Department of Justice found that the

City failed to investigate nearly half of misconduct complaints; where investigations did occur,

there were “consistent patterns of egregious investigative deficiencies”; and where misconduct

complaints are sustained, discipline was inconsistent and unpredictable.

         111.   Similarly, the Chicago Police Accountability Task Force reported in April 2016

that “[g]oing back years, and continuing to the present day, CPD has missed opportunities to

make accountability an organizational priority.”

         112.   Between 2011 and 2015, nearly half of complaints filed against police officers

were not even investigated.

         113.   More than 95% of complaints against the police are found to be “unsustained.”

         114.   Less than 2% of complaints against the Chicago Police resulted in any discipline.

         115.   Out of 3,316 recent complaints of false arrest filed against Chicago Police

officers, only 20 resulted in any discipline—just slightly more than one half of one percent of

cases.




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       116.    Indeed, in this case itself, the City’s police oversight mechanisms have already

failed. After Plaintiff filed her Complaint, the City began to investigate the case, reached out to

Plaintiff to conduct an interview, at which time Plaintiff’s counsel stated that they would make

Plaintiff available to answer questions at her deposition. The City’s response was to immediately

terminate its investigation.

       117.    All of the above widespread practices and customs, individually and/or together,

were allowed to flourish because the leaders, supervisors, and policymakers of the City of

Chicago directly encouraged, allowed, acquiesced in, and/or turned a blind eye to the very type

of misconduct discussed above, by failing to adequately train, supervise, and control Chicago

Police Officers, by failing to promulgate policies, and by failing to adequately punish and

discipline prior instances of similar misconduct, thus directly encouraging future abuses, such as

those affecting Mrs. Brent-Bell.

       118.    The above-described widespread practices, so well-settled as to constitute de facto

policy within the Chicago Police Department, were able to exist and thrive because

policymakers, acting under color of law with authority over the same, exhibited deliberate

indifference to the problem, thereby effectively ratifying it.

       119.    In addition and/or alternatively, the misconduct described in this Count was

undertaken pursuant to the policies and practices of the City of Chicago in that the constitutional

violations committed against Mrs. Brent-Bell were committed with the knowledge or approval of

persons with final policymaking authority for the City of Chicago, or were actually committed

by persons with such final policymaking authority.

       120.    Mrs. Brent-Bell’s injuries were caused by employees of the City of Chicago,

including but not limited to the individually named Defendants, who acted pursuant to one or




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more of the policies, practices, and customs set forth above in engaging in the misconduct

described in this Count.

                                  COUNT VII – State Law Claim
                                  False Arrest and Imprisonment

          121.   Each of the paragraphs of this Complaint is incorporated as if restated fully

herein.

          122.   In the manner described above, Mrs. Brent-Bell was taken into police custody by

one or more Defendants, and thereby had her liberty to move about unlawfully restrained, despite

Defendant Officers’ knowledge that there was no probable cause or other justification for doing

so.

          123.   In addition, Mrs. Brent-Bell was arrested and unlawfully detained by one or more

Defendants without lawful justification.

          124.   The actions of the Defendants were undertaken intentionally, with malice and

reckless indifference to Mrs. Brent-Bell’s rights.

          125.   The actions described in this Count were undertaken by Defendants acting within

the scope of their employment such that their employer is liable for their actions.

          126.   As a result of Defendants’ misconduct described in this Count, Mrs. Brent-Bell

experienced and continues to experience pain, suffering, emotional distress, and physical injury,

including a heart attack.

                                 COUNT VIII – State Law Claim
                            Intentional Infliction of Emotional Distress

          127.   Each of the paragraphs of this Complaint is incorporated as if restated fully

herein.




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          128.   In the manner described more fully above, the Defendants engaged in extreme

and outrageous conduct.

          129.   Defendants’ actions set forth above were rooted in an abuse of power or authority.

          130.   Defendants’ actions set forth above were undertaken with intent to inflict severe

emotional distress or knowledge that there was a high probability that the conduct would inflict

severe emotional distress and with reckless disregard of that probability.

          131.   Defendants’ actions set forth above were undertaking with malice, willfulness,

and reckless indifference to the rights of others.

          132.   The actions described in this Count were undertaken by Defendants acting within

the scope of their employment such that their employer is liable for their actions.

          133.   As a result of Defendants’ misconduct described in this Count, Mrs. Brent-Bell

experienced and continues to experience pain, suffering, emotional distress, and physical injury,

including a heart attack.

                                  COUNT IX – State Law Claim
                                  Willful and Wanton Conduct

          134.   Each of the paragraphs of this Complaint is incorporated as if restated fully

herein.

          135.   In the manner described more fully above, the actions of Defendants breached the

duty of care owed to Mrs. Brent-Bell.

          136.   The actions of Defendants were willful and wanton in that they demonstrated an

utter indifference for the safety of others. In addition and/or alternatively, Defendants were

conscious that an injury could result from the above-described course of action and recklessly

disregarded the consequences of those actions.




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          137.   The misconduct described in this Count was undertaken with intentional disregard

for Mrs. Brent-Bell’s rights.

          138.   As a result of Defendants’ misconduct described in this Count, Mrs. Brent-Bell

experienced and continues to experience pain, suffering, emotional distress, and physical injury,

including a heart attack.

                                   COUNT X – State Law Claim
                                       Civil Conspiracy

          139.   Each of the paragraphs of this Complaint is incorporated as if restated fully

herein.

          140.   As described more fully in the preceding paragraphs, Defendants reached an

agreement among themselves and with others, known and unknown, to violate the law and

deprive Mrs. Brent-Bell of her rights.

          141.   In furtherance of the conspiracy, one or more of the co-conspirators committed an

overt act and was an otherwise willful participant in joint activity.

          142.   The conspiring Defendants’ actions were undertaken intentionally, with malice

and reckless indifference to Mrs. Brent-Bell’s rights.

          143.   As a result of Defendants’ misconduct described in this Count, Mrs. Brent-Bell

experienced and continues to experience pain, suffering, emotional distress, and physical injury,

including a heart attack.

                                  COUNT XI – State Law Claim
                                     Respondeat Superior

          144.   Each of the paragraphs of this Complaint is incorporated as if restated fully

herein.




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          145.   In committing the acts alleged in this Complaint, Defendants were employees,

members, and agents of the Chicago Police Department acting at all relevant times within the

scope of their employment.

          146.   Defendant City of Chicago is liable as principal for all torts committed by its

agents.

                                  COUNT XII – State Law Claim
                                       Indemnification

          147.   Each of the paragraphs of this Complaint is incorporated as if restated fully

herein.

          148.   Illinois law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

          149.   Defendant Officers are, or were, employees of the Chicago Police Department,

who acted within the scope of their employment in committing the misconduct described above.

          150.   The City of Chicago is obligated to pay any judgment entered against the

Defendant Officers.

          WHEREFORE, Plaintiff CHARLOTTE BRENT-BELL, respectfully requests that this

Court enter a judgment in her favor and against Defendants CITY OF CHICAGO, Chicago

police officers JOSEPH STRUCK, PAMELA CHILDS LAUGHLIN, SHERRY KOTLARZ,

JOSEPH LOPEZ, CYNTHIA R. NICHOLS, SGT. LOUIS D. BOONE, III, AUDIE MANAOIS

and UNIDENTIFIED CHICAGO POLICE OFFICERS, awarding compensatory damages,

attorneys’ fees and costs against each Defendant, punitive damages against the individual

Defendants, and any other relief this Court deems just and appropriate.




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                                         JURY DEMAND

       Plaintiff, Charlotte Brent-Bell, hereby demands a trial by jury pursuant to Federal Rule of

Civil Procedure 38(b) on all issues so triable.

                                                       RESPECTFULLY SUBMITTED,

                                                       CHARLOTTE BRENT-BELL

                                                       BY:    /s/ Julie M. Goodwin
                                                              One of Plaintiff’s Attorneys

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                                 CERTIFICATE OF SERVICE

     I, Julie Goodwin, an attorney, certify that on April 19, 2018, I caused the foregoing Third
Amended Complaint to be served on all counsel of record via electronic mail.

                                                       /s/ Julie M. Goodwin
                                                       One of Plaintiff’s Attorneys




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